Case 1:20-cv-00254-MJT-ZJH Document 7 Filed 09/16/20 Page 1 of 1 PageID #: 25



                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

CHRISTOPHER J. BECKER                            §

VS.                                              §                CIVIL ACTION NO. 1:20cv254

WARDEN, USP BEAUMONT                             §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

       Petitioner Christopher J. Becker, proceeding pro se, brought this petition for writ of habeas
corpus pursuant to 28 U.S.C. § 2241.

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court.

The Magistrate Judge recommends the above-styled petition be dismissed without prejudice.

       The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record, pleadings and all available

evidence. A copy of the report and recommendation was mailed to petitioner at the address provided

to the court. Petitioner acknowledged receipt of the report and recommendation on August 3, 2020.

No objections to the Report and Recommendation of United States Magistrate Judge have been filed.

                                            ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ADOPTED. A final judgment will be entered in this case

in accordance with the Magistrate Judge’s recommendations.

                                       SIGNED this 16th day of September, 2020.




                                                                     ____________________________
                                                                     Michael J. Truncale
                                                                     United States District Judge
